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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 ROWVAUGHN WELLS, Individually and as
 Administratrix Ad Litem of the ESTATE OF                           Case No. 2:23-CV-2224
 TYRE DEANDRE NICHOLS, deceased.

        Plaintiff,


 v.

 THE CITY OF MEMPHIS, a municipality;
 CHIEF CERELYN DAVIS, in her official
 capacity; EMMITT MARTIN III, in his
 individual capacity; DEMETRIUS HALEY,
 in his individual capacity; TADARRIUS BEAN,
 in his individual capacity; PRESTON HEMPHILL,
 in his individual capacity; ROBERT LONG,
 in his individual capacity; JAMICHAEL SANDRIDGE,
 in his individual capacity; MICHELLE WHITAKER,
 in her individual capacity; DEWAYNE SMITH,
 in his individual capacity and
 as an agent of the City of Memphis,

       Defendants.
 ______________________________________________________________________________

  ANSWER OF JAMICHEAL SANDRIDGE TO PLAINTIFF’S COMPLAINT AT LAW
 ______________________________________________________________________________

        COMES NOW, Defendant JaMicheal Sandridge (“Mr. Sandridge”) or (“Defendant”), and

 submits this his Answer to Plaintiff’s Complaint at Law. In support thereof, Mr. Sandridge states

 as follows:

        Mr. Sandridge denies each and every allegation in Plaintiff’s Complaint not specifically

 admitted as though each such denial was set forth word for word herein.




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         Plaintiff’s Complaint contains a preliminary statement to which no response is required.

 To the extent a response may be required, or if Mr. Sandridge’s rights are affected by the

 Plaintiff’s preliminary statement, Defendant denies the same.

    1.      Defendant admits paragraph 1.

    2.      Defendant admits paragraph 2.

    3.      Defendant admits paragraph 3.

    4.      Defendant is without sufficient knowledge to admit or deny the allegations in

            paragraph 4 and to the extent Defendant’s rights may be affected, he demands strict

            proof thereof.

    5.      Defendant is without sufficient knowledge to admit or deny the allegations in

            paragraph 5 and to the extent Defendant’s rights may be affected, he demands strict

            proof thereof.

    6.      Defendant is without sufficient knowledge to admit or deny the allegations in

            paragraph 6 and to the extent Defendant’s rights may be affected, he demands strict

            proof thereof.

    7.      Defendant is without sufficient knowledge to admit or deny the allegations in

            paragraph 7 and to the extent Defendant’s rights may be affected, he demands strict

            proof thereof.

    8.      Defendant admits paragraph 8.

    9.      Defendant is without sufficient knowledge to admit or deny the allegations in

            paragraph 9 and to the extent Defendant’s rights may be affected, he demands strict

            proof thereof.




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   10.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 10 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   11.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 11 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   12.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 12 including sub-paragraphs a through e and to the extent Defendant’s

         rights may be affected, he demands strict proof thereof.

   13.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 13 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   14.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 14 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   15.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 15 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   16.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 16 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   17.   Defendant admits the allegations in paragraph 17.




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   18.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 18 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   19.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 19 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   20.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 20 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   21.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 21 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   22.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 22 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   23.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 23 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   24.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 24 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.




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   25.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 25 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   26.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 26 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   27.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 27 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   28.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 28 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   29.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 29 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   30.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 30 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   31.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 31 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.




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   32.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 32 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   33.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 33 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   34.   Defendant admits the allegations in paragraph 34.

   35.   Defendant admits the allegations in paragraph 35.

   36.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 36 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   37.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 37 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   38.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 38 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   39.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 39 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

                                    FACTUAL ALLEGATIONS




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   40.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 40 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   41.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 41 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   42.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 42 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   43.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 43 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   44.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 44 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   45.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 45 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   46.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 46 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.




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   47.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 47 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   48.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 48 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   49.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 49 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

         I.     The City of Memphis’ Decision to Hire Cerelyn Davis as Police Chief with
                Knowledge of Her History with Disbanded Police Suppression Units.


   50.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 50 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   51.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 51 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   52.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 52 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   53.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 53 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.



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   54.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 54 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   55.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 55 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   56.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 56 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   57.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 57 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   58.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 58 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   59.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 59 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.

   60.   Defendant is without sufficient knowledge to admit or deny the allegations in

         paragraph 60 and to the extent Defendant’s rights may be affected, he demands strict

         proof thereof.




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    61.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 61 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    62.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 62 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    63.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 63 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    64.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 64 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    65.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 65 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    66.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 66 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    67.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 67 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.




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    68.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 68 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

          II.    The City of Memphis’ Creation of the SCORPION Unit; An
                 Institutionalized Police Oppression Unit.


    69.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 69 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    70.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 70 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    71.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 71 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    72.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 72 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    73.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 73 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    74.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 74 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.



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    75.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 75 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    76.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 76 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    77.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 77 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    78.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 78 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    79.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 79 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    80.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 80 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    81.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 81 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.




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    82.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 82 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    83.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 83 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    84.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 84 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    85.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 85 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    86.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 86 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    87.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 87 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    88.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 88 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.




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    89.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 89 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

          III.   The SCORPION Unit’s Sting is Unleashed on the City of Memphis

    90.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 90 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    91.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 91 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    92.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 92 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    93.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 93 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    94.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 94 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.

    95.   Defendant is without sufficient knowledge to admit or deny the allegations in

          paragraph 95 and to the extent Defendant’s rights may be affected, he demands strict

          proof thereof.




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    96.    Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 96 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    97.    Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 97 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    98.    Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 98 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    99.    Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 99 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    100.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 100 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    101.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 101 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    102.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 102 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    103.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 103 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    104.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 104 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    105.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 105 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    106.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 106 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    107.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 107 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    108.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 108 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    109.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 109 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    110.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 110 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

           IV.    The City of Memphis’ Staff of the SCORPION Unit and the Broader
                  Indifference to Hiring Standards and Training Within the Memphis
                  Police Department


    111.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 111 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    112.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 112 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    113.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 113 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    114.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 114 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    115.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 115 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    116.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 116 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

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    117.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 117 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    118.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 118 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    119.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 119 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    120.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 120 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    121.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 121 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    122.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 122 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    123.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 123 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    124.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 124 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    125.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 125 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    126.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 126 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    127.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 127 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    128.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 128 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    129.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 129 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    130.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 130 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    131.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 131 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    132.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 132 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    133.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 133 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    134.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 134 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    135.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 135 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    136.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 136 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    137.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 137 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    138.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 138 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

           V.     The City of Memphis’ Indifference to the SCORPION Unit’s
                  Unsupervised Reign of Terror


    139.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 139 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    140.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 140 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    141.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 141 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    142.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 142 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    143.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 143 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    144.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 144 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.



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           VI.    The Baseless Stop: Consistent with Chief Davis’ Directive, the
                  SCORPION Unit Stops Tyre Nichols Without Legal Justification


    145.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 145 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    146.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 146 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    147.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 147 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    148.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 148 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    149.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 149 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    150.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 150 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    151.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 151 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.



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    152.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 152 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    153.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 153 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    154.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 154 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    155.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 155 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    156.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 156 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    157.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 157 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    158.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 158 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    159.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 159 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    160.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 160 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    161.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 161 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    162.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 162 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    163.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 163 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    164.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 164 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    165.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 165 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    166.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 166 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    167.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 167 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    168.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 168 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    169.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 169 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    170.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 170 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    171.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 171 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    172.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 172 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    173.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 173 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    174.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 174 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    175.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 175 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    176.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 176 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    177.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 177 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    178.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 178 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    179.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 179 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    180.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 180 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    181.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 181 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    182.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 182 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    183.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 183 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    184.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 184 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    185.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 185 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    186.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 186 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    187.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 187 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    188.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 188 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    189.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 189 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    190.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 190 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    191.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 191 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    192.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 192 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    193.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 193 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.




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    194.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 194 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    195.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 195 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    196.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 196 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

           VII.   The Capture and the Retaliation: the Gang of SCORPION Unit Officers
                  Beat Tyre Within an Inch of His Life

    197.   Defendant is without sufficient knowledge to admit or deny paragraph 197 and would

           demand strict proof if his rights are to be affected.

    198.   Defendant is without sufficient knowledge to admit or deny paragraph 198 and would

           demand strict proof if his rights are to be affected.

    199.   Defendant is without sufficient knowledge to admit or deny paragraph 199 and would

           demand strict proof if his rights are to be affected.

    200.   Defendant is without sufficient knowledge to admit or deny paragraph 200 and would

           demand strict proof if his rights are to be affected.

    201.   Defendant is without sufficient knowledge to admit or deny paragraph 201 and would

           demand strict proof if his rights are to be affected.

    202.   Defendant is without sufficient knowledge to admit or deny paragraph 202 and would

           demand strict proof if his rights are to be affected.




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    203.   Defendant is without sufficient knowledge to admit or deny paragraph 203 and would

           demand strict proof if his rights are to be affected.

    204.   Defendant is without sufficient knowledge to admit or deny paragraph 204 and would

           demand strict proof if his rights are to be affected.

    205.   Defendant is without sufficient knowledge to admit or deny paragraph 205 and would

           demand strict proof if his rights are to be affected.

    206.   Defendant is without sufficient knowledge to admit or deny paragraph 206 and would

           demand strict proof if his rights are to be affected.

    207.   Defendant is without sufficient knowledge to admit or deny paragraph 207 and would

           demand strict proof if his rights are to be affected.

    208.   Defendant is without sufficient knowledge to admit or deny paragraph 208 and would

           demand strict proof if his rights are to be affected.

    209.   Defendant is without sufficient knowledge to admit or deny paragraph 209 and would

           demand strict proof if his rights are to be affected.

    210.   Defendant is without sufficient knowledge to admit or deny paragraph 210 and would

           demand strict proof if his rights are to be affected.

    211.   Defendant is without sufficient knowledge to admit or deny paragraph 211 and would

           demand strict proof if his rights are to be affected.

    212.   Defendant is without sufficient knowledge to admit or deny paragraph 212 and would

           demand strict proof if his rights are to be affected.

    213.   Defendant is without sufficient knowledge to admit or deny paragraph 213 and would

           demand strict proof if his rights are to be affected.




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    214.   Defendant is without sufficient knowledge to admit or deny paragraph 214 and would

           demand strict proof if his rights are to be affected.

    215.   Defendant is without sufficient knowledge to admit or deny paragraph 215 and would

           demand strict proof if his rights are to be affected.

    216.   Defendant is without sufficient knowledge to admit or deny paragraph 216 and would

           demand strict proof if his rights are to be affected.

    217.   Defendant is without sufficient knowledge to admit or deny paragraph 217 and would

           demand strict proof if his rights are to be affected.

    218.   Defendant is without sufficient knowledge to admit or deny paragraph 218 and would

           demand strict proof if his rights are to be affected.

    219.   Defendant is without sufficient knowledge to admit or deny paragraph 219 and would

           demand strict proof if his rights are to be affected.

    220.   Defendant is without sufficient knowledge to admit or deny paragraph 220 and would

           demand strict proof if his rights are to be affected.

    221.   Defendant is without sufficient knowledge to admit or deny paragraph 221 and would

           demand strict proof if his rights are to be affected.

    222.   Defendant is without sufficient knowledge to admit or deny paragraph 222 and would

           demand strict proof if his rights are to be affected.

           VIII. The Aftermath: The Indifference of SCORPION Unit Officers, MPD
                 Officers, MFD Agents, and Others Contribute to Tyre’s Death


    223.   Defendant is without sufficient knowledge to admit or deny paragraph 223 and would

           demand strict proof if his rights are to be affected.




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    224.   Defendant is without sufficient knowledge to admit or deny paragraph 224 and would

           demand strict proof if his rights are to be affected.

    225.   Defendant is without sufficient knowledge to admit or deny paragraph 225 and would

           demand strict proof if his rights are to be affected.

    226.   Defendant is without sufficient knowledge to admit or deny paragraph 226 and would

           demand strict proof if his rights are to be affected.

    227.   Defendant is without sufficient knowledge to admit or deny paragraph 227 and would

           demand strict proof if his rights are to be affected.

    228.   Defendant is without sufficient knowledge to admit or deny paragraph 228 and would

           demand strict proof if his rights are to be affected.

    229.   Defendant is without sufficient knowledge to admit or deny paragraph 229 and would

           demand strict proof if his rights are to be affected.

    230.   Defendant is without sufficient knowledge to admit or deny paragraph 230 and would

           demand strict proof if his rights are to be affected.

    231.   Defendant is without sufficient knowledge to admit or deny paragraph 231 and would

           demand strict proof if his rights are to be affected.

    232.   Defendant is without sufficient knowledge to admit or deny paragraph 232 and would

           demand strict proof if his rights are to be affected.

    233.   Defendant is without sufficient knowledge to admit or deny paragraph 233 and would

           demand strict proof if his rights are to be affected.

    234.   Defendant is without sufficient knowledge to admit or deny paragraph 234 and would

           demand strict proof if his rights are to be affected.




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    235.   Defendant is without sufficient knowledge to admit or deny paragraph 235 and would

           demand strict proof if his rights are to be affected.

    236.   Defendant denies the allegations in paragraph 236.

    237.   Defendant denies the allegations in paragraph 237.

    238.   Defendant is without sufficient knowledge to admit or deny paragraph 238 and would

           demand strict proof if his rights are to be affected.

    239.   Defendant admits paragraph 239.

    240.   Defendant admits paragraph 240.

    241.   Defendant denies paragraph 241.

    242.   Defendant denies paragraph 242.

    243.   Defendant denies paragraph 243.

    244.   Defendant denies paragraph 244.

    245.   Defendant denies paragraph 245.

    246.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 246 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    247.   Defendant denies paragraph 247 as stated.

    248.   Defendant denies that EMT’s did not address his physical state Defendant is without

           sufficient knowledge to admit or deny the remaining allegations in paragraph 248 and

           to the extent Defendant’s rights may be affected, he demands strict proof thereof.

    249.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 249 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.



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    250.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 250 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    251.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 251 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    252.   Defendant is without sufficient knowledge to admit or deny the allegations in

           paragraph 252 and to the extent Defendant’s rights may be affected, he demands strict

           proof thereof.

    253.   Defendant denies paragraph 253 as stated.

    254.   Defendant admits Mr. Nichols was transported to the hospital.

           IX.    The Late Arrival of Lieutenant DeWayne Smith and the
                  Misrepresentation and Lies to Row Vaughan Wells


    255.   Defendant is without sufficient knowledge to admit or deny paragraph 255 and would

           demand strict proof if his rights are to be affected.

    256.   Defendant is without sufficient knowledge to admit or deny paragraph 256 and would

           demand strict proof if his rights are to be affected.

    257.   Defendant is without sufficient knowledge to admit or deny paragraph 257 and would

           demand strict proof if his rights are to be affected.

    258.   Defendant is without sufficient knowledge to admit or deny paragraph 258 and would

           demand strict proof if his rights are to be affected.

    259.   Defendant is without sufficient knowledge to admit or deny paragraph 259 and would

           demand strict proof if his rights are to be affected.



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    260.   Defendant is without sufficient knowledge to admit or deny paragraph 260 and would

           demand strict proof if his rights are to be affected.

    261.   Defendant is without sufficient knowledge to admit or deny paragraph 261 and would

           demand strict proof if his rights are to be affected.

    262.   Defendant is without sufficient knowledge to admit or deny paragraph 262 and would

           demand strict proof if his rights are to be affected.

    263.   Defendant is without sufficient knowledge to admit or deny paragraph 263 and would

           demand strict proof if his rights are to be affected.

    264.   Defendant is without sufficient knowledge to admit or deny paragraph 264 and would

           demand strict proof if his rights are to be affected.

    265.   Defendant is without sufficient knowledge to admit or deny paragraph 265 and would

           demand strict proof if his rights are to be affected.

    266.   Defendant is without sufficient knowledge to admit or deny paragraph 266 and would

           demand strict proof if his rights are to be affected.

    267.   Defendant is without sufficient knowledge to admit or deny paragraph 267 and would

           demand strict proof if his rights are to be affected.

    268.   Defendant is without sufficient knowledge to admit or deny paragraph 268 and would

           demand strict proof if his rights are to be affected.

    269.   Defendant is without sufficient knowledge to admit or deny paragraph 269 and would

           demand strict proof if his rights are to be affected.

    270.   Defendant is without sufficient knowledge to admit or deny paragraph 270 and would

           demand strict proof if his rights are to be affected.




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    271.   Defendant is without sufficient knowledge to admit or deny paragraph 271 and would

           demand strict proof if his rights are to be affected.

    272.   Defendant is without sufficient knowledge to admit or deny paragraph 272 and would

           demand strict proof if his rights are to be affected.

    273.   Defendant is without sufficient knowledge to admit or deny paragraph 273 and would

           demand strict proof if his rights are to be affected.

    274.   Defendant is without sufficient knowledge to admit or deny paragraph 274 and would

           demand strict proof if his rights are to be affected.

    275.   Defendant is without sufficient knowledge to admit or deny paragraph 275 and would

           demand strict proof if his rights are to be affected.

    276.   Defendant is without sufficient knowledge to admit or deny paragraph 276 and would

           demand strict proof if his rights are to be affected.

    277.   Defendant is without sufficient knowledge to admit or deny paragraph 277 and would

           demand strict proof if his rights are to be affected.

    278.   Defendant is without sufficient knowledge to admit or deny paragraph 278 and would

           demand strict proof if his rights are to be affected.

    279.   Defendant is without sufficient knowledge to admit or deny paragraph 279 and would

           demand strict proof if his rights are to be affected.

    280.   Defendant is without sufficient knowledge to admit or deny paragraph 280 and would

           demand strict proof if his rights are to be affected.

    281.   Defendant is without sufficient knowledge to admit or deny paragraph 281 and would

           demand strict proof if his rights are to be affected.




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    282.   Defendant is without sufficient knowledge to admit or deny paragraph 282 and would

           demand strict proof if his rights are to be affected.

           X.     The Original Five SCORPION Unit Officer’s Use of Excessive Force and
                  Failure to Intervene in the Use of Excessive Force Contributes to Tyre’s
                  Death

    283.   Defendant is without sufficient knowledge to admit or deny paragraph 283 and would

           demand strict proof if his rights are to be affected.

    284.   Defendant is without sufficient knowledge to admit or deny paragraph 284 and would

           demand strict proof if his rights are to be affected.

    285.   Defendant is without sufficient knowledge to admit or deny paragraph 285 and would

           demand strict proof if his rights are to be affected.

    286.   Defendant is without sufficient knowledge to admit or deny paragraph 286 and would

           demand strict proof if his rights are to be affected.

    287.   Defendant is without sufficient knowledge to admit or deny paragraph 287 and would

           demand strict proof if his rights are to be affected.

    288.   Defendant is without sufficient knowledge to admit or deny paragraph 288 and would

           demand strict proof if his rights are to be affected.

    289.   Defendant is without sufficient knowledge to admit or deny paragraph 289 and would

           demand strict proof if his rights are to be affected.

    290.   Defendant is without sufficient knowledge to admit or deny paragraph 290 and would

           demand strict proof if his rights are to be affected.

    291.   Defendant is without sufficient knowledge to admit or deny paragraph 291 and would

           demand strict proof if his rights are to be affected.




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    292.   Defendant is without sufficient knowledge to admit or deny paragraph 292 and would

           demand strict proof if his rights are to be affected.

    293.   Defendant denies paragraph 293.

                                            CAUSE OF ACTION

                       COUNT 1 – 42 U.S.C.§1983 – Monell Claim- Official Policy

    294.   Paragraph 294 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    295.   Defendant is without sufficient knowledge to admit or deny paragraph 295 and would

           demand strict proof if his rights are to be affected.

    296.   Defendant is without sufficient knowledge to admit or deny paragraph 296 and would

           demand strict proof if his rights are to be affected.

    297.   Defendant is without sufficient knowledge to admit or deny paragraph 297 and would

           demand strict proof if his rights are to be affected.

    298.   Defendant is without sufficient knowledge to admit or deny paragraph 298 and would

           demand strict proof if his rights are to be affected.

    299.   Defendant is without sufficient knowledge to admit or deny paragraph 299 and would

           demand strict proof if his rights are to be affected.

    300.   Defendant is without sufficient knowledge to admit or deny paragraph 300 and would

           demand strict proof if his rights are to be affected.

    301.   Defendant is without sufficient knowledge to admit or deny paragraph 301 and would

           demand strict proof if his rights are to be affected.

    302.   Defendant is without sufficient knowledge to admit or deny paragraph 302 and would

           demand strict proof if his rights are to be affected.



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    303.   Defendant is without sufficient knowledge to admit or deny paragraph 303 and would

           demand strict proof if his rights are to be affected.

    304.   Defendant is without sufficient knowledge to admit or deny paragraph 304 and would

           demand strict proof if his rights are to be affected.

    305.   Defendant is without sufficient knowledge to admit or deny paragraph 305 and would

           demand strict proof if his rights are to be affected.

    306.   Defendant is without sufficient knowledge to admit or deny paragraph 306 and would

           demand strict proof if his rights are to be affected.

    307.   Defendant is without sufficient knowledge to admit or deny paragraph 307 and would

           demand strict proof if his rights are to be affected.

    308.   Defendant is without sufficient knowledge to admit or deny paragraph 308 and would

           demand strict proof if his rights are to be affected.

    309.   Defendant is without sufficient knowledge to admit or deny paragraph 309 and would

           demand strict proof if his rights are to be affected.

    310.   Defendant is without sufficient knowledge to admit or deny paragraph 310 and would

           demand strict proof if his rights are to be affected.

            COUNT II - 42 U.S.C.§1983 – Monell Claim - Custom of Tolerance
           Plaintiff v. Chief Cerelyn Davis, in her official capacity (City of Memphis)

    311.   Paragraph 311 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    312.   Defendant is without sufficient knowledge to admit or deny paragraph 312 and would

           demand strict proof if his rights are to be affected.

    313.   Defendant is without sufficient knowledge to admit or deny paragraph 313 and would

           demand strict proof if his rights are to be affected.

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    314.   Defendant is without sufficient knowledge to admit or deny paragraph 314 and would

           demand strict proof if his rights are to be affected.

    315.   Defendant is without sufficient knowledge to admit or deny paragraph 315 and would

           demand strict proof if his rights are to be affected.

    316.   Defendant is without sufficient knowledge to admit or deny paragraph 316 and would

           demand strict proof if his rights are to be affected.

    317.   Defendant is without sufficient knowledge to admit or deny paragraph 317 and would

           demand strict proof if his rights are to be affected.

    318.   Defendant is without sufficient knowledge to admit or deny paragraph 318 and would

           demand strict proof if his rights are to be affected.

    319.   Defendant is without sufficient knowledge to admit or deny paragraph 319 and would

           demand strict proof if his rights are to be affected.

    320.   Defendant is without sufficient knowledge to admit or deny paragraph 320 and would

           demand strict proof if his rights are to be affected.

    321.   Defendant is without sufficient knowledge to admit or deny paragraph 321 and would

           demand strict proof if his rights are to be affected.

    322.   Defendant is without sufficient knowledge to admit or deny paragraph 322 and would

           demand strict proof if his rights are to be affected.

    323.   Defendant is without sufficient knowledge to admit or deny paragraph 323 and would

           demand strict proof if his rights are to be affected.

    324.   Defendant is without sufficient knowledge to admit or deny paragraph 324 and would

           demand strict proof if his rights are to be affected.

                    COUNT III – 42 U.S.C. §1983- Monell Claim – Failure to Train
                 Plaintiff v. Chief Cerelyn Davis, in her official capacity (City of Memphis)

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    325.   Paragraph 325 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    326.   Defendant is without sufficient knowledge to admit or deny paragraph 326 and would

           demand strict proof if his rights are to be affected.

    327.   Defendant is without sufficient knowledge to admit or deny paragraph 327 and would

           demand strict proof if his rights are to be affected.

    328.   Defendant is without sufficient knowledge to admit or deny paragraph 328 and would

           demand strict proof if his rights are to be affected.

    329.   Defendant is without sufficient knowledge to admit or deny paragraph 329 and would

           demand strict proof if his rights are to be affected.

    330.   Defendant is without sufficient knowledge to admit or deny paragraph 330 and would

           demand strict proof if his rights are to be affected.

    331.   Defendant is without sufficient knowledge to admit or deny paragraph 331 and would

           demand strict proof if his rights are to be affected.

    332.   Defendant is without sufficient knowledge to admit or deny paragraph 332 and would

           demand strict proof if his rights are to be affected.

    333.   Defendant is without sufficient knowledge to admit or deny paragraph 333 and would

           demand strict proof if his rights are to be affected.

    334.   Defendant is without sufficient knowledge to admit or deny paragraph 334 and would

           demand strict proof if his rights are to be affected.

    335.   Defendant is without sufficient knowledge to admit or deny paragraph 335 and would

           demand strict proof if his rights are to be affected.



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    336.   Defendant is without sufficient knowledge to admit or deny paragraph 336 and would

           demand strict proof if his rights are to be affected.

    337.   Defendant is without sufficient knowledge to admit or deny paragraph 337 and would

           demand strict proof if his rights are to be affected.

    338.   Defendant is without sufficient knowledge to admit or deny paragraph 338 and would

           demand strict proof if his rights are to be affected.

    339.   Defendant is without sufficient knowledge to admit or deny paragraph 339 and would

           demand strict proof if his rights are to be affected.

    340.   Defendant is without sufficient knowledge to admit or deny paragraph 340 and would

           demand strict proof if his rights are to be affected.

    341.   Defendant is without sufficient knowledge to admit or deny paragraph 341 and would

           demand strict proof if his rights are to be affected.

    342.   Defendant is without sufficient knowledge to admit or deny paragraph 342 and would

           demand strict proof if his rights are to be affected.

    343.   Defendant is without sufficient knowledge to admit or deny paragraph 343 and would

           demand strict proof if his rights are to be affected.

    344.   Defendant is without sufficient knowledge to admit or deny paragraph 344 and would

           demand strict proof if his rights are to be affected.

    345.   Defendant is without sufficient knowledge to admit or deny paragraph 345 and would

           demand strict proof if his rights are to be affected.

    346.   Defendant is without sufficient knowledge to admit or deny paragraph 346 and would

           demand strict proof if his rights are to be affected.




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    347.   Defendant is without sufficient knowledge to admit or deny paragraph 347 and would

           demand strict proof if his rights are to be affected.

    348.   Defendant is without sufficient knowledge to admit or deny paragraph 348 and would

           demand strict proof if his rights are to be affected.

    349.   Defendant is without sufficient knowledge to admit or deny paragraph 349 and would

           demand strict proof if his rights are to be affected.

                 COUNT IV – 42 U.S.C. §1983 – Monell Claim – Failure to Supervise
                 Plaintiff v. Chief Cerelyn Davis in her official capacity (City of Memphis)

    350.   Paragraph 350 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    351.   Defendant is without sufficient knowledge to admit or deny paragraph 351 and would

           demand strict proof if his rights are to be affected.

    352.   Defendant is without sufficient knowledge to admit or deny paragraph 352 and would

           demand strict proof if his rights are to be affected.

    353.   Defendant is without sufficient knowledge to admit or deny paragraph 353 and would

           demand strict proof if his rights are to be affected.

    354.   Defendant is without sufficient knowledge to admit or deny paragraph 354 and would

           demand strict proof if his rights are to be affected.

    355.   Defendant is without sufficient knowledge to admit or deny paragraph 355 and would

           demand strict proof if his rights are to be affected.

    356.   Defendant is without sufficient knowledge to admit or deny paragraph 356 and would

           demand strict proof if his rights are to be affected.

    357.   Defendant is without sufficient knowledge to admit or deny paragraph 357 and would

           demand strict proof if his rights are to be affected.

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    358.   Defendant is without sufficient knowledge to admit or deny paragraph 358 and would

           demand strict proof if his rights are to be affected.

    359.   Defendant is without sufficient knowledge to admit or deny paragraph 359 and would

           demand strict proof if his rights are to be affected.

    360.   Defendant is without sufficient knowledge to admit or deny paragraph 360 and would

           demand strict proof if his rights are to be affected.

    361.   Defendant is without sufficient knowledge to admit or deny paragraph 361 and would

           demand strict proof if his rights are to be affected.

    362.   Defendant is without sufficient knowledge to admit or deny paragraph 362 and would

           demand strict proof if his rights are to be affected.

    363.   Defendant is without sufficient knowledge to admit or deny paragraph 363 and would

           demand strict proof if his rights are to be affected.

    364.   Defendant is without sufficient knowledge to admit or deny paragraph 364 and would

           demand strict proof if his rights are to be affected.

    365.   Defendant is without sufficient knowledge to admit or deny paragraph 365 and would

           demand strict proof if his rights are to be affected.

    366.   Defendant is without sufficient knowledge to admit or deny paragraph 366 and would

           demand strict proof if his rights are to be affected.

    367.   Defendant is without sufficient knowledge to admit or deny paragraph 367 and would

           demand strict proof if his rights are to be affected.

    368.   Defendant is without sufficient knowledge to admit or deny paragraph 368 and would

           demand strict proof if his rights are to be affected.




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    369.   Defendant is without sufficient knowledge to admit or deny paragraph 369 and would

           demand strict proof if his rights are to be affected.

    370.   Defendant is without sufficient knowledge to admit or deny paragraph 370 and would

           demand strict proof if his rights are to be affected.

    371.   Defendant is without sufficient knowledge to admit or deny paragraph 371 and would

           demand strict proof if his rights are to be affected.

    372.   Defendant is without sufficient knowledge to admit or deny paragraph 372 and would

           demand strict proof if his rights are to be affected.

    373.   Defendant is without sufficient knowledge to admit or deny paragraph 373 and would

           demand strict proof if his rights are to be affected.

    374.   Defendant is without sufficient knowledge to admit or deny paragraph 374 and would

           demand strict proof if his rights are to be affected.

    375.   Defendant is without sufficient knowledge to admit or deny paragraph 375 and would

           demand strict proof if his rights are to be affected.

    376.   Defendant is without sufficient knowledge to admit or deny paragraph 376 and would

           demand strict proof if his rights are to be affected.

    COUNT V – 42 U.S.C. §1983 – Fourth Amendment Violation: Unreasonable Stop
                      Plaintiff v. Emmitt Martin III in his individual capacity

    377.   Paragraph 377 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    378.   Defendant is without sufficient knowledge to admit or deny paragraph 378 and would

           demand strict proof if his rights are to be affected.

    379.   Defendant is without sufficient knowledge to admit or deny paragraph 379 and would

           demand strict proof if his rights are to be affected.

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    380.   Defendant is without sufficient knowledge to admit or deny paragraph 380 and would

           demand strict proof if his rights are to be affected.

    381.   Defendant is without sufficient knowledge to admit or deny paragraph 381 and would

           demand strict proof if his rights are to be affected.

    382.   Defendant is without sufficient knowledge to admit or deny paragraph 382 and would

           demand strict proof if his rights are to be affected.

    383.   Defendant is without sufficient knowledge to admit or deny paragraph 383 and would

           demand strict proof if his rights are to be affected.

    384.   Defendant is without sufficient knowledge to admit or deny paragraph 384 and would

           demand strict proof if his rights are to be affected.

    385.   Defendant is without sufficient knowledge to admit or deny paragraph 385 and would

           demand strict proof if his rights are to be affected.

    386.   Defendant is without sufficient knowledge to admit or deny paragraph 386 and would

           demand strict proof if his rights are to be affected.

    387.   Defendant is without sufficient knowledge to admit or deny paragraph 387 and would

           demand strict proof if his rights are to be affected.

    388.   Defendant is without sufficient knowledge to admit or deny paragraph 388 and would

           demand strict proof if his rights are to be affected.

    389.   Defendant is without sufficient knowledge to admit or deny paragraph 389 and would

           demand strict proof if his rights are to be affected.

    390.   Defendant is without sufficient knowledge to admit or deny paragraph 390 and would

           demand strict proof if his rights are to be affected.




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    391.   Defendant is without sufficient knowledge to admit or deny paragraph 391 and would

           demand strict proof if his rights are to be affected.

    392.   Defendant is without sufficient knowledge to admit or deny paragraph 392 and would

           demand strict proof if his rights are to be affected.

    393.   Defendant is without sufficient knowledge to admit or deny paragraph 393 and would

           demand strict proof if his rights are to be affected.

    394.   Defendant is without sufficient knowledge to admit or deny paragraph 394 and would

           demand strict proof if his rights are to be affected.

    395.   Defendant is without sufficient knowledge to admit or deny paragraph 395 and would

           demand strict proof if his rights are to be affected.

    396.   Defendant is without sufficient knowledge to admit or deny paragraph 396 and would

           demand strict proof if his rights are to be affected.

    397.   Defendant is without sufficient knowledge to admit or deny paragraph 397 and would

           demand strict proof if his rights are to be affected.

    398.   Defendant is without sufficient knowledge to admit or deny paragraph 398 and would

           demand strict proof if his rights are to be affected.

    399.   Defendant is without sufficient knowledge to admit or deny paragraph 399 and would

           demand strict proof if his rights are to be affected.

            COUNT VI – 42 U.S.C. 1983 – Fourth Amendment Violation: Excessive Force
                      Plaintiff v. Emmitt Martin III, in his individual capacity

    400.   Paragraph 400 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    401.   Defendant is without sufficient knowledge to admit or deny paragraph 401 and would

           demand strict proof if his rights are to be affected.

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    402.   Defendant is without sufficient knowledge to admit or deny paragraph 402 and would

           demand strict proof if his rights are to be affected.

    403.   Defendant is without sufficient knowledge to admit or deny paragraph 403 and would

           demand strict proof if his rights are to be affected.

    404.   Defendant is without sufficient knowledge to admit or deny paragraph 404 and would

           demand strict proof if his rights are to be affected.

    405.   Defendant is without sufficient knowledge to admit or deny paragraph 405 and would

           demand strict proof if his rights are to be affected.

    406.   Defendant is without sufficient knowledge to admit or deny paragraph 406 and would

           demand strict proof if his rights are to be affected.

    407.   Defendant is without sufficient knowledge to admit or deny paragraph 407 and would

           demand strict proof if his rights are to be affected.

    408.   Defendant is without sufficient knowledge to admit or deny paragraph 408 and would

           demand strict proof if his rights are to be affected.

    409.   Defendant is without sufficient knowledge to admit or deny paragraph 409 and would

           demand strict proof if his rights are to be affected.

    410.   Defendant is without sufficient knowledge to admit or deny paragraph 410 and would

           demand strict proof if his rights are to be affected.

    411.   Defendant is without sufficient knowledge to admit or deny paragraph 411 and would

           demand strict proof if his rights are to be affected.

    412.   Defendant is without sufficient knowledge to admit or deny paragraph 412 and would

           demand strict proof if his rights are to be affected.




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    413.   Defendant is without sufficient knowledge to admit or deny paragraph 413 and would

           demand strict proof if his rights are to be affected.

    414.   Defendant is without sufficient knowledge to admit or deny paragraph 414 and would

           demand strict proof if his rights are to be affected.

    415.   Defendant is without sufficient knowledge to admit or deny paragraph 415 and would

           demand strict proof if his rights are to be affected.

    416.   Defendant is without sufficient knowledge to admit or deny paragraph 416 and would

           demand strict proof if his rights are to be affected.

    417.   Defendant is without sufficient knowledge to admit or deny paragraph 417 and would

           demand strict proof if his rights are to be affected.

    418.   Defendant is without sufficient knowledge to admit or deny paragraph 418 and would

           demand strict proof if his rights are to be affected.

    419.   Defendant is without sufficient knowledge to admit or deny paragraph 419 and would

           demand strict proof if his rights are to be affected.

    420.   Defendant is without sufficient knowledge to admit or deny paragraph 420 and would

           demand strict proof if his rights are to be affected.

    421.   Defendant is without sufficient knowledge to admit or deny paragraph 421 and would

           demand strict proof if his rights are to be affected.

    422.   Defendant is without sufficient knowledge to admit or deny paragraph 422 and would

           demand strict proof if his rights are to be affected.

    423.   Defendant is without sufficient knowledge to admit or deny paragraph 423 and would

           demand strict proof if his rights are to be affected.




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    424.   Defendant is without sufficient knowledge to admit or deny paragraph 424 and would

           demand strict proof if his rights are to be affected.

    425.   Defendant is without sufficient knowledge to admit or deny paragraph 425 and would

           demand strict proof if his rights are to be affected.

              COUNT VII – 42 U.S.C. §1983 – Fourth Amendment Violation: Failure to
                              Intervene to Prevent Excessive Force
                     Plaintiff v. Emmitt Martin III, in his individual capacity

    426.   Paragraph 426 does not require a response. To the extent a response is required,

           Defendant incorporates his responses to paragraphs 1-293.

    427.   Defendant is without sufficient knowledge to admit or deny paragraph 427 and would

           demand strict proof if his rights are to be affected.

    428.   Defendant is without sufficient knowledge to admit or deny paragraph 428 and would

           demand strict proof if his rights are to be affected.

    429.   Defendant is without sufficient knowledge to admit or deny paragraph 429 and would

           demand strict proof if his rights are to be affected.

    430.   Defendant is without sufficient knowledge to admit or deny paragraph 430 and would

           demand strict proof if his rights are to be affected.

    431.   Defendant is without sufficient knowledge to admit or deny paragraph 431 and would

           demand strict proof if his rights are to be affected.

    432.   Defendant is without sufficient knowledge to admit or deny paragraph 432 and would

           demand strict proof if his rights are to be affected.

    433.   Defendant is without sufficient knowledge to admit or deny paragraph 433 and would

           demand strict proof if his rights are to be affected.




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    434.   Defendant is without sufficient knowledge to admit or deny paragraph 434 and would

           demand strict proof if his rights are to be affected.

    435.   Defendant is without sufficient knowledge to admit or deny paragraph 435 and would

           demand strict proof if his rights are to be affected.

    436.   Defendant is without sufficient knowledge to admit or deny paragraph 436 and would

           demand strict proof if his rights are to be affected.

    437.   Defendant is without sufficient knowledge to admit or deny paragraph 437 and would

           demand strict proof if his rights are to be affected.

    438.   Defendant is without sufficient knowledge to admit or deny paragraph 438 and would

           demand strict proof if his rights are to be affected.

    439.   Defendant is without sufficient knowledge to admit or deny paragraph 439 and would

           demand strict proof if his rights are to be affected.

    440.   Defendant is without sufficient knowledge to admit or deny paragraph 440 and would

           demand strict proof if his rights are to be affected.

    441.   Defendant is without sufficient knowledge to admit or deny paragraph 441 and would

           demand strict proof if his rights are to be affected.

    442.   Defendant is without sufficient knowledge to admit or deny paragraph 442 and would

           demand strict proof if his rights are to be affected.

    443.   Defendant is without sufficient knowledge to admit or deny paragraph 443 and would

           demand strict proof if his rights are to be affected.

    444.   Defendant is without sufficient knowledge to admit or deny paragraph 444 and would

           demand strict proof if his rights are to be affected.




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    445.   Defendant is without sufficient knowledge to admit or deny paragraph 445 and would

           demand strict proof if his rights are to be affected.

    446.   Defendant is without sufficient knowledge to admit or deny paragraph 446 and would

           demand strict proof if his rights are to be affected.

    447.   Defendant is without sufficient knowledge to admit or deny paragraph 447 and would

           demand strict proof if his rights are to be affected.

    448.   Defendant is without sufficient knowledge to admit or deny paragraph 448 and would

           demand strict proof if his rights are to be affected.

    449.   Defendant is without sufficient knowledge to admit or deny paragraph 449 and would

           demand strict proof if his rights are to be affected.

    450.   Defendant is without sufficient knowledge to admit or deny paragraph 450 and would

           demand strict proof if his rights are to be affected.

    451.   Defendant is without sufficient knowledge to admit or deny paragraph 451 and would

           demand strict proof if his rights are to be affected.

    COUNT VIII- 42 U.S.C. §1983 – Fourth Amendment Violation: Unreasonable Stop
                       Plaintiff v. Demetrius Haley, in his individual capacity

    452.   Paragraph 452 does not require a response. To the extent a response is required,

           Defendant incorporates his responses to paragraphs 1-293.

    453.   Defendant is without sufficient knowledge to admit or deny paragraph 453 and would

           demand strict proof if his rights are to be affected.

    454.   Defendant is without sufficient knowledge to admit or deny paragraph 454 and would

           demand strict proof if his rights are to be affected.

    455.   Defendant is without sufficient knowledge to admit or deny paragraph 455 and would

           demand strict proof if his rights are to be affected.

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    456.   Defendant is without sufficient knowledge to admit or deny paragraph 456 and would

           demand strict proof if his rights are to be affected.

    457.   Defendant is without sufficient knowledge to admit or deny paragraph 457 and would

           demand strict proof if his rights are to be affected.

    458.   Defendant is without sufficient knowledge to admit or deny paragraph 458 and would

           demand strict proof if his rights are to be affected.

    459.   Defendant is without sufficient knowledge to admit or deny paragraph 459 and would

           demand strict proof if his rights are to be affected.

    460.   Defendant is without sufficient knowledge to admit or deny paragraph 460 and would

           demand strict proof if his rights are to be affected.

    461.   Defendant is without sufficient knowledge to admit or deny paragraph 461 and would

           demand strict proof if his rights are to be affected.

    462.   Defendant is without sufficient knowledge to admit or deny paragraph 462 and would

           demand strict proof if his rights are to be affected.

    463.   Defendant is without sufficient knowledge to admit or deny paragraph 463 and would

           demand strict proof if his rights are to be affected.

    464.   Defendant is without sufficient knowledge to admit or deny paragraph 464 and would

           demand strict proof if his rights are to be affected.

    465.   Defendant is without sufficient knowledge to admit or deny paragraph 465 and would

           demand strict proof if his rights are to be affected.

    466.   Defendant is without sufficient knowledge to admit or deny paragraph 466 and would

           demand strict proof if his rights are to be affected.




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    467.   Defendant is without sufficient knowledge to admit or deny paragraph 467 and would

           demand strict proof if his rights are to be affected.

    468.   Defendant is without sufficient knowledge to admit or deny paragraph 468 and would

           demand strict proof if his rights are to be affected.

    469.   Defendant is without sufficient knowledge to admit or deny paragraph 469 and would

           demand strict proof if his rights are to be affected.

    470.   Defendant is without sufficient knowledge to admit or deny paragraph 470 and would

           demand strict proof if his rights are to be affected.

    471.   Defendant is without sufficient knowledge to admit or deny paragraph 471 and would

           demand strict proof if his rights are to be affected.

    472.   Defendant is without sufficient knowledge to admit or deny paragraph 472 and would

           demand strict proof if his rights are to be affected.

    473.   Defendant is without sufficient knowledge to admit or deny paragraph 473 and would

           demand strict proof if his rights are to be affected.

    474.   Defendant is without sufficient knowledge to admit or deny paragraph 474 and would

           demand strict proof if his rights are to be affected.

                 COUNT IX - 42 U.S.C. § 1983- Fourth Amendment: Excessive Force
                      Plaintiff v. Demetrius Haley, in his individual capacity

    475.   Paragraph 475 does not require a response. To the extent a response is required,

           Defendant incorporates his responses to paragraphs 1-293.

    476.   Defendant is without sufficient knowledge to admit or deny paragraph 476 and would

           demand strict proof if his rights are to be affected.

    477.   Defendant is without sufficient knowledge to admit or deny paragraph 477 and would

           demand strict proof if his rights are to be affected.

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    478.   Defendant is without sufficient knowledge to admit or deny paragraph 478 and would

           demand strict proof if his rights are to be affected.

    479.   Defendant is without sufficient knowledge to admit or deny paragraph 479 and would

           demand strict proof if his rights are to be affected.

    480.   Defendant is without sufficient knowledge to admit or deny paragraph 480 and would

           demand strict proof if his rights are to be affected.

    481.   Defendant is without sufficient knowledge to admit or deny paragraph 481 and would

           demand strict proof if his rights are to be affected.

    482.   Defendant is without sufficient knowledge to admit or deny paragraph 482 and would

           demand strict proof if his rights are to be affected.

    483.   Defendant is without sufficient knowledge to admit or deny paragraph 483 and would

           demand strict proof if his rights are to be affected.

    484.   Defendant is without sufficient knowledge to admit or deny paragraph 484 and would

           demand strict proof if his rights are to be affected.

    485.   Defendant is without sufficient knowledge to admit or deny paragraph 485 and would

           demand strict proof if his rights are to be affected.

    486.   Defendant is without sufficient knowledge to admit or deny paragraph 486 and would

           demand strict proof if his rights are to be affected.

    487.   Defendant is without sufficient knowledge to admit or deny paragraph 487 and would

           demand strict proof if his rights are to be affected.

    488.   Defendant is without sufficient knowledge to admit or deny paragraph 488 and would

           demand strict proof if his rights are to be affected.




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    489.   Defendant is without sufficient knowledge to admit or deny paragraph 489 and would

           demand strict proof if his rights are to be affected.

    490.   Defendant is without sufficient knowledge to admit or deny paragraph 490 and would

           demand strict proof if his rights are to be affected.

    491.   Defendant is without sufficient knowledge to admit or deny paragraph 491 and would

           demand strict proof if his rights are to be affected.

    492.   Defendant is without sufficient knowledge to admit or deny paragraph 492 and would

           demand strict proof if his rights are to be affected.

    493.   Defendant is without sufficient knowledge to admit or deny paragraph 493 and would

           demand strict proof if his rights are to be affected.

    494.   Defendant is without sufficient knowledge to admit or deny paragraph 494 and would

           demand strict proof if his rights are to be affected.

    495.   Defendant is without sufficient knowledge to admit or deny paragraph 495 and would

           demand strict proof if his rights are to be affected.

    496.   Defendant is without sufficient knowledge to admit or deny paragraph 496 and would

           demand strict proof if his rights are to be affected.

    497.   Defendant is without sufficient knowledge to admit or deny paragraph 497 and would

           demand strict proof if his rights are to be affected.

    498.   Defendant is without sufficient knowledge to admit or deny paragraph 498 and would

           demand strict proof if his rights are to be affected.

    499.   Defendant is without sufficient knowledge to admit or deny paragraph 499 and would

           demand strict proof if his rights are to be affected.




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    500.   Defendant is without sufficient knowledge to admit or deny paragraph 500 and would

           demand strict proof if his rights are to be affected.

                COUNT X – 42 U.S.C. §1983- Fourth Amendment Violation: Failure to
                               Intervene to Prevent Excessive Force
                       Plaintiff v. Demetrius Haley, in his individual capacity

    501.   Paragraph 501 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    502.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    503.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    504.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    505.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    506.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    507.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    508.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    509.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.




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    510.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    511.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    512.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    513.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    514.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    515.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    516.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    517.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    518.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    519.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    520.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.




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    521.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    522.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    523.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    524.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    525.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

    526.   Defendant is without sufficient knowledge to admit or deny paragraph 4 and would

           demand strict proof if his rights are to be affected.

           COUNT XI – 42 U.S.C. §1983 – Fourth Amendment Violation: Excessive Force
                        Plaintiff v. Justin Smith, in his individual capacity

    527.   Paragraph 527 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    528.   Defendant is without sufficient knowledge to admit or deny paragraph 528 and would

           demand strict proof if his rights are to be affected.

    529.   Defendant is without sufficient knowledge to admit or deny paragraph 529 and would

           demand strict proof if his rights are to be affected.

    530.   Defendant is without sufficient knowledge to admit or deny paragraph 530 and would

           demand strict proof if his rights are to be affected.

    531.   Defendant is without sufficient knowledge to admit or deny paragraph 531 and would

           demand strict proof if his rights are to be affected.

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    532.   Defendant is without sufficient knowledge to admit or deny paragraph 532 and would

           demand strict proof if his rights are to be affected.

    533.   Defendant is without sufficient knowledge to admit or deny paragraph 533 and would

           demand strict proof if his rights are to be affected.

    534.   Defendant is without sufficient knowledge to admit or deny paragraph 534 and would

           demand strict proof if his rights are to be affected.

    535.   Defendant is without sufficient knowledge to admit or deny paragraph 535 and would

           demand strict proof if his rights are to be affected.

    536.   Defendant is without sufficient knowledge to admit or deny paragraph 536 and would

           demand strict proof if his rights are to be affected.

    537.   Defendant is without sufficient knowledge to admit or deny paragraph 537 and would

           demand strict proof if his rights are to be affected.

    538.   Defendant is without sufficient knowledge to admit or deny paragraph 538 and would

           demand strict proof if his rights are to be affected.

    539.   Defendant is without sufficient knowledge to admit or deny paragraph 539 and would

           demand strict proof if his rights are to be affected.

    540.   Defendant is without sufficient knowledge to admit or deny paragraph 540 and would

           demand strict proof if his rights are to be affected.

    541.   Defendant is without sufficient knowledge to admit or deny paragraph 541 and would

           demand strict proof if his rights are to be affected.

    542.   Defendant is without sufficient knowledge to admit or deny paragraph 542 and would

           demand strict proof if his rights are to be affected.




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    543.   Defendant is without sufficient knowledge to admit or deny paragraph 543 and would

           demand strict proof if his rights are to be affected.

    544.   Defendant is without sufficient knowledge to admit or deny paragraph 544 and would

           demand strict proof if his rights are to be affected.

    545.   Defendant is without sufficient knowledge to admit or deny paragraph 545 and would

           demand strict proof if his rights are to be affected.

    546.   Defendant is without sufficient knowledge to admit or deny paragraph 546 and would

           demand strict proof if his rights are to be affected.

    547.   Defendant is without sufficient knowledge to admit or deny paragraph 547 and would

           demand strict proof if his rights are to be affected.

    548.   Defendant is without sufficient knowledge to admit or deny paragraph 548 and would

           demand strict proof if his rights are to be affected.

    549.   Defendant is without sufficient knowledge to admit or deny paragraph 549 and would

           demand strict proof if his rights are to be affected.

    550.   Defendant is without sufficient knowledge to admit or deny paragraph 550 and would

           demand strict proof if his rights are to be affected.

    551.   Defendant is without sufficient knowledge to admit or deny paragraph 551 and would

           demand strict proof if his rights are to be affected.

    552.   Defendant is without sufficient knowledge to admit or deny paragraph 552 and would

           demand strict proof if his rights are to be affected.

    553.   Defendant is without sufficient knowledge to admit or deny paragraph 553 and would

           demand strict proof if his rights are to be affected.




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    554.   Defendant is without sufficient knowledge to admit or deny paragraph 554 and would

           demand strict proof if his rights are to be affected.

              COUNT XII – 42 U.S.C. §1983 – Fourth Amendment Violation: Failure to
                             Intervene to Prevent Excessive Force
                        Plaintiff v. Justin Smith, in his individual capacity

    555.   Paragraph 555 does not require a response. To the extent a response is required,

           Defendant incorporates his responses to paragraphs 1-293.

    556.   Defendant is without sufficient knowledge to admit or deny paragraph 556 and would

           demand strict proof if his rights are to be affected.

    557.   Defendant is without sufficient knowledge to admit or deny paragraph 557 and would

           demand strict proof if his rights are to be affected.

    558.   Defendant is without sufficient knowledge to admit or deny paragraph 558 and would

           demand strict proof if his rights are to be affected.

    559.   Defendant is without sufficient knowledge to admit or deny paragraph 559 and would

           demand strict proof if his rights are to be affected.

    560.   Defendant is without sufficient knowledge to admit or deny paragraph 560 and would

           demand strict proof if his rights are to be affected.

    561.   Defendant is without sufficient knowledge to admit or deny paragraph 561 and would

           demand strict proof if his rights are to be affected.

    562.   Defendant is without sufficient knowledge to admit or deny paragraph 562 and would

           demand strict proof if his rights are to be affected.

    563.   Defendant is without sufficient knowledge to admit or deny paragraph 563 and would

           demand strict proof if his rights are to be affected.




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    564.   Defendant is without sufficient knowledge to admit or deny paragraph 564 and would

           demand strict proof if his rights are to be affected.

    565.   Defendant is without sufficient knowledge to admit or deny paragraph 565 and would

           demand strict proof if his rights are to be affected.

    566.   Defendant is without sufficient knowledge to admit or deny paragraph 566 and would

           demand strict proof if his rights are to be affected.

    567.   Defendant is without sufficient knowledge to admit or deny paragraph 567 and would

           demand strict proof if his rights are to be affected.

    568.   Defendant is without sufficient knowledge to admit or deny paragraph 568 and would

           demand strict proof if his rights are to be affected.

    569.   Defendant is without sufficient knowledge to admit or deny paragraph 569 and would

           demand strict proof if his rights are to be affected.

    570.   Defendant is without sufficient knowledge to admit or deny paragraph 570 and would

           demand strict proof if his rights are to be affected.

    571.   Defendant is without sufficient knowledge to admit or deny paragraph 571 and would

           demand strict proof if his rights are to be affected.

    572.   Defendant is without sufficient knowledge to admit or deny paragraph 572 and would

           demand strict proof if his rights are to be affected.

    573.   Defendant is without sufficient knowledge to admit or deny paragraph 573 and would

           demand strict proof if his rights are to be affected.

    574.   Defendant is without sufficient knowledge to admit or deny paragraph 574 and would

           demand strict proof if his rights are to be affected.




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    575.   Defendant is without sufficient knowledge to admit or deny paragraph 575 and would

           demand strict proof if his rights are to be affected.

    576.   Defendant is without sufficient knowledge to admit or deny paragraph 576 and would

           demand strict proof if his rights are to be affected.

    577.   Defendant is without sufficient knowledge to admit or deny paragraph 577 and would

           demand strict proof if his rights are to be affected.

    578.   Defendant is without sufficient knowledge to admit or deny paragraph 578 and would

           demand strict proof if his rights are to be affected.

    579.   Defendant is without sufficient knowledge to admit or deny paragraph 579 and would

           demand strict proof if his rights are to be affected.

    580.   Defendant is without sufficient knowledge to admit or deny paragraph 580 and would

           demand strict proof if his rights are to be affected.

    COUNT XIII – 42 U.S.C. §1983 – Fourth Amendment Violation: Excessive Force
                      Plaintiff v. Desmond Mills, Jr., in his individual capacity

    581.   Paragraph 581 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    582.   Defendant is without sufficient knowledge to admit or deny paragraph 582 and would

           demand strict proof if his rights are to be affected.

    583.   Defendant is without sufficient knowledge to admit or deny paragraph 583 and would

           demand strict proof if his rights are to be affected.

    584.   Defendant is without sufficient knowledge to admit or deny paragraph 584 and would

           demand strict proof if his rights are to be affected.

    585.   Defendant is without sufficient knowledge to admit or deny paragraph 585 and would

           demand strict proof if his rights are to be affected.

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    586.   Defendant is without sufficient knowledge to admit or deny paragraph 586 and would

           demand strict proof if his rights are to be affected.

    587.   Defendant is without sufficient knowledge to admit or deny paragraph 587 and would

           demand strict proof if his rights are to be affected.

    588.   Defendant is without sufficient knowledge to admit or deny paragraph 588 and would

           demand strict proof if his rights are to be affected.

    589.   Defendant is without sufficient knowledge to admit or deny paragraph 589 and would

           demand strict proof if his rights are to be affected.

    590.   Defendant is without sufficient knowledge to admit or deny paragraph 590 and would

           demand strict proof if his rights are to be affected.

    591.   Defendant is without sufficient knowledge to admit or deny paragraph 591 and would

           demand strict proof if his rights are to be affected.

    592.   Defendant is without sufficient knowledge to admit or deny paragraph 592 and would

           demand strict proof if his rights are to be affected.

    593.   Defendant is without sufficient knowledge to admit or deny paragraph 593 and would

           demand strict proof if his rights are to be affected.

    594.   Defendant is without sufficient knowledge to admit or deny paragraph 594 and would

           demand strict proof if his rights are to be affected.

    595.   Defendant is without sufficient knowledge to admit or deny paragraph 595 and would

           demand strict proof if his rights are to be affected.

    596.   Defendant is without sufficient knowledge to admit or deny paragraph 596 and would

           demand strict proof if his rights are to be affected.




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    597.   Defendant is without sufficient knowledge to admit or deny paragraph 597 and would

           demand strict proof if his rights are to be affected.

    598.   Defendant is without sufficient knowledge to admit or deny paragraph 598 and would

           demand strict proof if his rights are to be affected.

    599.   Defendant is without sufficient knowledge to admit or deny paragraph 599 and would

           demand strict proof if his rights are to be affected.

    600.   Defendant is without sufficient knowledge to admit or deny paragraph 600 and would

           demand strict proof if his rights are to be affected.

    601.   Defendant is without sufficient knowledge to admit or deny paragraph 601 and would

           demand strict proof if his rights are to be affected.

    602.   Defendant is without sufficient knowledge to admit or deny paragraph 602 and would

           demand strict proof if his rights are to be affected.

    603.   Defendant is without sufficient knowledge to admit or deny paragraph 603 and would

           demand strict proof if his rights are to be affected.

    604.   Defendant is without sufficient knowledge to admit or deny paragraph 604 and would

           demand strict proof if his rights are to be affected.

    605.   Defendant is without sufficient knowledge to admit or deny paragraph 605 and would

           demand strict proof if his rights are to be affected.

    606.   Defendant is without sufficient knowledge to admit or deny paragraph 606 and would

           demand strict proof if his rights are to be affected.

    607.   Defendant is without sufficient knowledge to admit or deny paragraph 607 and would

           demand strict proof if his rights are to be affected.




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    608.   Defendant is without sufficient knowledge to admit or deny paragraph 608 and would

           demand strict proof if his rights are to be affected.

              COUNT XIV – 42 U.S.C. § 1983 – Fourth Amendment Violation: Failure to
                               Intervene to Prevent Excessive Force
                     Plaintiff v. Desmond Mills, Jr., in his individual capacity

    609.   Paragraph 609 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    610.   Defendant is without sufficient knowledge to admit or deny paragraph 610 and would

           demand strict proof if his rights are to be affected.

    611.   Defendant is without sufficient knowledge to admit or deny paragraph 611 and would

           demand strict proof if his rights are to be affected.

    612.   Defendant is without sufficient knowledge to admit or deny paragraph 612 and would

           demand strict proof if his rights are to be affected.

    613.   Defendant is without sufficient knowledge to admit or deny paragraph 613 and would

           demand strict proof if his rights are to be affected.

    614.   Defendant is without sufficient knowledge to admit or deny paragraph 614 and would

           demand strict proof if his rights are to be affected.

    615.   Defendant is without sufficient knowledge to admit or deny paragraph 615 and would

           demand strict proof if his rights are to be affected.

    616.   Defendant is without sufficient knowledge to admit or deny paragraph 616 and would

           demand strict proof if his rights are to be affected.

    617.   Defendant is without sufficient knowledge to admit or deny paragraph 617 and would

           demand strict proof if his rights are to be affected.




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    618.   Defendant is without sufficient knowledge to admit or deny paragraph 618 and would

           demand strict proof if his rights are to be affected.

    619.   Defendant is without sufficient knowledge to admit or deny paragraph 619 and would

           demand strict proof if his rights are to be affected.

    620.   Defendant is without sufficient knowledge to admit or deny paragraph 620 and would

           demand strict proof if his rights are to be affected.

    621.   Defendant is without sufficient knowledge to admit or deny paragraph 621 and would

           demand strict proof if his rights are to be affected.

    622.   Defendant is without sufficient knowledge to admit or deny paragraph 622 and would

           demand strict proof if his rights are to be affected.

    623.   Defendant is without sufficient knowledge to admit or deny paragraph 623 and would

           demand strict proof if his rights are to be affected.

    624.   Defendant is without sufficient knowledge to admit or deny paragraph 624 and would

           demand strict proof if his rights are to be affected.

    625.   Defendant is without sufficient knowledge to admit or deny paragraph 625 and would

           demand strict proof if his rights are to be affected.

    626.   Defendant is without sufficient knowledge to admit or deny paragraph 626 and would

           demand strict proof if his rights are to be affected.

    627.   Defendant is without sufficient knowledge to admit or deny paragraph 627 and would

           demand strict proof if his rights are to be affected.

    628.   Defendant is without sufficient knowledge to admit or deny paragraph 628 and would

           demand strict proof if his rights are to be affected.




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    629.   Defendant is without sufficient knowledge to admit or deny paragraph 629 and would

           demand strict proof if his rights are to be affected.

    630.   Defendant is without sufficient knowledge to admit or deny paragraph 630 and would

           demand strict proof if his rights are to be affected.

    631.   Defendant is without sufficient knowledge to admit or deny paragraph 631 and would

           demand strict proof if his rights are to be affected.

    632.   Defendant is without sufficient knowledge to admit or deny paragraph 632 and would

           demand strict proof if his rights are to be affected.

    633.   Defendant is without sufficient knowledge to admit or deny paragraph 633 and would

           demand strict proof if his rights are to be affected.

    634.   Defendant is without sufficient knowledge to admit or deny paragraph 634 and would

           demand strict proof if his rights are to be affected.

           COUNT XV – 42 U.S.C. §1983 – Fourth Amendment Violation: Excessive Force
                      Plaintiff v. Tadarrius Bean, in his individual capacity

    635.   Paragraph 635 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    636.   Defendant is without sufficient knowledge to admit or deny paragraph 636 and would

           demand strict proof if his rights are to be affected.

    637.   Defendant is without sufficient knowledge to admit or deny paragraph 637 and would

           demand strict proof if his rights are to be affected.

    638.   Defendant is without sufficient knowledge to admit or deny paragraph 638 and would

           demand strict proof if his rights are to be affected.

    639.   Defendant is without sufficient knowledge to admit or deny paragraph 639 and would

           demand strict proof if his rights are to be affected.

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    640.   Defendant is without sufficient knowledge to admit or deny paragraph 640 and would

           demand strict proof if his rights are to be affected.

    641.   Defendant is without sufficient knowledge to admit or deny paragraph 641 and would

           demand strict proof if his rights are to be affected.

    642.   Defendant is without sufficient knowledge to admit or deny paragraph 642 and would

           demand strict proof if his rights are to be affected.

    643.   Defendant is without sufficient knowledge to admit or deny paragraph 643 and would

           demand strict proof if his rights are to be affected.

    644.   Defendant is without sufficient knowledge to admit or deny paragraph 644 and would

           demand strict proof if his rights are to be affected.

    645.   Defendant is without sufficient knowledge to admit or deny paragraph 645 and would

           demand strict proof if his rights are to be affected.

    646.   Defendant is without sufficient knowledge to admit or deny paragraph 646 and would

           demand strict proof if his rights are to be affected.

    647.   Defendant is without sufficient knowledge to admit or deny paragraph 647 and would

           demand strict proof if his rights are to be affected.

    648.   Defendant is without sufficient knowledge to admit or deny paragraph 648 and would

           demand strict proof if his rights are to be affected.

    649.   Defendant is without sufficient knowledge to admit or deny paragraph 649 and would

           demand strict proof if his rights are to be affected.

    650.   Defendant is without sufficient knowledge to admit or deny paragraph 650 and would

           demand strict proof if his rights are to be affected.




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    651.   Defendant is without sufficient knowledge to admit or deny paragraph 651 and would

           demand strict proof if his rights are to be affected.

    652.   Defendant is without sufficient knowledge to admit or deny paragraph 652 and would

           demand strict proof if his rights are to be affected.

    653.   Defendant is without sufficient knowledge to admit or deny paragraph 653 and would

           demand strict proof if his rights are to be affected.

    654.   Defendant is without sufficient knowledge to admit or deny paragraph 654 and would

           demand strict proof if his rights are to be affected.

    655.   Defendant is without sufficient knowledge to admit or deny paragraph 655 and would

           demand strict proof if his rights are to be affected.

    656.   Defendant is without sufficient knowledge to admit or deny paragraph 656 and would

           demand strict proof if his rights are to be affected.

    657.   Defendant is without sufficient knowledge to admit or deny paragraph 657 and would

           demand strict proof if his rights are to be affected.

    658.   Defendant is without sufficient knowledge to admit or deny paragraph 658 and would

           demand strict proof if his rights are to be affected.

    659.   Defendant is without sufficient knowledge to admit or deny paragraph 659 and would

           demand strict proof if his rights are to be affected.

    660.   Defendant is without sufficient knowledge to admit or deny paragraph 660 and would

           demand strict proof if his rights are to be affected.

    661.   Defendant is without sufficient knowledge to admit or deny paragraph 661 and would

           demand strict proof if his rights are to be affected.




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    662.   Defendant is without sufficient knowledge to admit or deny paragraph 662 and would

           demand strict proof if his rights are to be affected.

              COUNT XVI – 42 U.S.C. § 1983- Fourth Amendment Violation: Failure to
                             Intervene to Prevent Excessive Force
                      Plaintiff v. Tadarrius Bean, in his individual capacity

    663.   Paragraph 663 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    664.   Defendant is without sufficient knowledge to admit or deny paragraph 664 and would

           demand strict proof if his rights are to be affected.

    665.   Defendant is without sufficient knowledge to admit or deny paragraph 665 and would

           demand strict proof if his rights are to be affected.

    666.   Defendant is without sufficient knowledge to admit or deny paragraph 666 and would

           demand strict proof if his rights are to be affected.

    667.   Defendant is without sufficient knowledge to admit or deny paragraph 667 and would

           demand strict proof if his rights are to be affected.

    668.   Defendant is without sufficient knowledge to admit or deny paragraph 668 and would

           demand strict proof if his rights are to be affected.

    669.   Defendant is without sufficient knowledge to admit or deny paragraph 669 and would

           demand strict proof if his rights are to be affected.

    670.   Defendant is without sufficient knowledge to admit or deny paragraph 670 and would

           demand strict proof if his rights are to be affected.

    671.   Defendant is without sufficient knowledge to admit or deny paragraph 671 and would

           demand strict proof if his rights are to be affected.




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    672.   Defendant is without sufficient knowledge to admit or deny paragraph 672 and would

           demand strict proof if his rights are to be affected.

    673.   Defendant is without sufficient knowledge to admit or deny paragraph 673 and would

           demand strict proof if his rights are to be affected.

    674.   Defendant is without sufficient knowledge to admit or deny paragraph 674 and would

           demand strict proof if his rights are to be affected.

    675.   Defendant is without sufficient knowledge to admit or deny paragraph 675 and would

           demand strict proof if his rights are to be affected.

    676.   Defendant is without sufficient knowledge to admit or deny paragraph 676 and would

           demand strict proof if his rights are to be affected.

    677.   Defendant is without sufficient knowledge to admit or deny paragraph 677 and would

           demand strict proof if his rights are to be affected.

    678.   Defendant is without sufficient knowledge to admit or deny paragraph 678 and would

           demand strict proof if his rights are to be affected.

    679.   Defendant is without sufficient knowledge to admit or deny paragraph 679 and would

           demand strict proof if his rights are to be affected.

    680.   Defendant is without sufficient knowledge to admit or deny paragraph 680 and would

           demand strict proof if his rights are to be affected.

    681.   Defendant is without sufficient knowledge to admit or deny paragraph 681 and would

           demand strict proof if his rights are to be affected.

    682.   Defendant is without sufficient knowledge to admit or deny paragraph 682 and would

           demand strict proof if his rights are to be affected.




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    683.   Defendant is without sufficient knowledge to admit or deny paragraph 683 and would

           demand strict proof if his rights are to be affected.

    684.   Defendant is without sufficient knowledge to admit or deny paragraph 684 and would

           demand strict proof if his rights are to be affected.

    685.   Defendant is without sufficient knowledge to admit or deny paragraph 685 and would

           demand strict proof if his rights are to be affected.

    686.   Defendant is without sufficient knowledge to admit or deny paragraph 686 and would

           demand strict proof if his rights are to be affected.

    687.   Defendant is without sufficient knowledge to admit or deny paragraph 687 and would

           demand strict proof if his rights are to be affected.

    688.   Defendant is without sufficient knowledge to admit or deny paragraph 688 and would

           demand strict proof if his rights are to be affected.

    COUNT XVII - 42 U.S.C. §1983 – Fourth Amendment Violation: Unreasonable Stop
                      Plaintiff v. Preston Hemphill, in his individual capacity

    689.   Paragraph 689 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    690.   Defendant is without sufficient knowledge to admit or deny paragraph 690 and would

           demand strict proof if his rights are to be affected.

    691.   Defendant is without sufficient knowledge to admit or deny paragraph 691 and would

           demand strict proof if his rights are to be affected.

    692.   Defendant is without sufficient knowledge to admit or deny paragraph 692 and would

           demand strict proof if his rights are to be affected.

    693.   Defendant is without sufficient knowledge to admit or deny paragraph 693 and would

           demand strict proof if his rights are to be affected.

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    694.   Defendant is without sufficient knowledge to admit or deny paragraph 694 and would

           demand strict proof if his rights are to be affected.

    695.   Defendant is without sufficient knowledge to admit or deny paragraph 695 and would

           demand strict proof if his rights are to be affected.

    696.   Defendant is without sufficient knowledge to admit or deny paragraph 696 and would

           demand strict proof if his rights are to be affected.

    697.   Defendant is without sufficient knowledge to admit or deny paragraph 697 and would

           demand strict proof if his rights are to be affected.

    698.   Defendant is without sufficient knowledge to admit or deny paragraph 698 and would

           demand strict proof if his rights are to be affected.

    699.   Defendant is without sufficient knowledge to admit or deny paragraph 699 and would

           demand strict proof if his rights are to be affected.

    700.   Defendant is without sufficient knowledge to admit or deny paragraph 700 and would

           demand strict proof if his rights are to be affected.

    701.   Defendant is without sufficient knowledge to admit or deny paragraph 701 and would

           demand strict proof if his rights are to be affected.

    702.   Defendant is without sufficient knowledge to admit or deny paragraph 702 and would

           demand strict proof if his rights are to be affected.

    703.   Defendant is without sufficient knowledge to admit or deny paragraph 703 and would

           demand strict proof if his rights are to be affected.

    704.   Defendant is without sufficient knowledge to admit or deny paragraph 704 and would

           demand strict proof if his rights are to be affected.




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    705.   Defendant is without sufficient knowledge to admit or deny paragraph 705 and would

           demand strict proof if his rights are to be affected.

    706.   Defendant is without sufficient knowledge to admit or deny paragraph 706 and would

           demand strict proof if his rights are to be affected.

    707.   Defendant is without sufficient knowledge to admit or deny paragraph 707 and would

           demand strict proof if his rights are to be affected.

    708.   Defendant is without sufficient knowledge to admit or deny paragraph 708 and would

           demand strict proof if his rights are to be affected.

    709.   Defendant is without sufficient knowledge to admit or deny paragraph 709 and would

           demand strict proof if his rights are to be affected.

    710.   Defendant is without sufficient knowledge to admit or deny paragraph 710 and would

           demand strict proof if his rights are to be affected.

    711.   Defendant is without sufficient knowledge to admit or deny paragraph 711 and would

           demand strict proof if his rights are to be affected.

    COUNT XVIII – 42 U.S.C. § 1983- Fourth Amendment Violation: Excessive Force
                      Plaintiff v. Preston Hemphill, in his individual capacity

    712.   Paragraph 712 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    713.   Defendant is without sufficient knowledge to admit or deny paragraph 713 and would

           demand strict proof if his rights are to be affected.

    714.   Defendant is without sufficient knowledge to admit or deny paragraph 714 and would

           demand strict proof if his rights are to be affected.

    715.   Defendant is without sufficient knowledge to admit or deny paragraph 715 and would

           demand strict proof if his rights are to be affected.

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    716.   Defendant is without sufficient knowledge to admit or deny paragraph 716 and would

           demand strict proof if his rights are to be affected.

    717.   Defendant is without sufficient knowledge to admit or deny paragraph 717 and would

           demand strict proof if his rights are to be affected.

    718.   Defendant is without sufficient knowledge to admit or deny paragraph 718 and would

           demand strict proof if his rights are to be affected.

    719.   Defendant is without sufficient knowledge to admit or deny paragraph 719 and would

           demand strict proof if his rights are to be affected.

    720.   Defendant is without sufficient knowledge to admit or deny paragraph 720 and would

           demand strict proof if his rights are to be affected.

    721.   Defendant is without sufficient knowledge to admit or deny paragraph 721 and would

           demand strict proof if his rights are to be affected.

    722.   Defendant is without sufficient knowledge to admit or deny paragraph 722 and would

           demand strict proof if his rights are to be affected.

    723.   Defendant is without sufficient knowledge to admit or deny paragraph 723 and would

           demand strict proof if his rights are to be affected.

    724.   Defendant is without sufficient knowledge to admit or deny paragraph 724 and would

           demand strict proof if his rights are to be affected.

    725.   Defendant is without sufficient knowledge to admit or deny paragraph 725 and would

           demand strict proof if his rights are to be affected.

    726.   Defendant is without sufficient knowledge to admit or deny paragraph 726 and would

           demand strict proof if his rights are to be affected.




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    727.   Defendant is without sufficient knowledge to admit or deny paragraph 727 and would

           demand strict proof if his rights are to be affected.

    728.   Defendant is without sufficient knowledge to admit or deny paragraph 728 and would

           demand strict proof if his rights are to be affected.

    729.   Defendant is without sufficient knowledge to admit or deny paragraph 729 and would

           demand strict proof if his rights are to be affected.

    730.   Defendant is without sufficient knowledge to admit or deny paragraph 730 and would

           demand strict proof if his rights are to be affected.

    731.   Defendant is without sufficient knowledge to admit or deny paragraph 731 and would

           demand strict proof if his rights are to be affected.

    732.   Defendant is without sufficient knowledge to admit or deny paragraph 732 and would

           demand strict proof if his rights are to be affected.

    733.   Defendant is without sufficient knowledge to admit or deny paragraph 733 and would

           demand strict proof if his rights are to be affected.

    734.   Defendant is without sufficient knowledge to admit or deny paragraph 734 and would

           demand strict proof if his rights are to be affected.

    735.   Defendant is without sufficient knowledge to admit or deny paragraph 735 and would

           demand strict proof if his rights are to be affected.

    736.   Defendant is without sufficient knowledge to admit or deny paragraph 736 and would

           demand strict proof if his rights are to be affected.

    737.   Defendant is without sufficient knowledge to admit or deny paragraph 737and would

           demand strict proof if his rights are to be affected.




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    738.   Defendant is without sufficient knowledge to admit or deny paragraph 738 and would

           demand strict proof if his rights are to be affected.

    739.   Defendant is without sufficient knowledge to admit or deny paragraph 739 and would

           demand strict proof if his rights are to be affected.

              COUNT XIX – 42 U.S.C. § 1983 – Fourth Amendment Violation: Failure to
                               Intervene to Prevent Excessive Force
                      Plaintiff v. Preston Hemphill, in his individual capacity

    740.   Paragraph 740 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    741.   Defendant is without sufficient knowledge to admit or deny paragraph 741 and would

           demand strict proof if his rights are to be affected.

    742.   Defendant is without sufficient knowledge to admit or deny paragraph 742 and would

           demand strict proof if his rights are to be affected.

    743.   Defendant is without sufficient knowledge to admit or deny paragraph 743 and would

           demand strict proof if his rights are to be affected.

    744.   Defendant is without sufficient knowledge to admit or deny paragraph 744 and would

           demand strict proof if his rights are to be affected.

    745.   Defendant is without sufficient knowledge to admit or deny paragraph 745 and would

           demand strict proof if his rights are to be affected.

    746.   Defendant is without sufficient knowledge to admit or deny paragraph 746 and would

           demand strict proof if his rights are to be affected.

    747.   Defendant is without sufficient knowledge to admit or deny paragraph 747 and would

           demand strict proof if his rights are to be affected.




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    748.   Defendant is without sufficient knowledge to admit or deny paragraph 748 and would

           demand strict proof if his rights are to be affected.

    749.   Defendant is without sufficient knowledge to admit or deny paragraph 749 and would

           demand strict proof if his rights are to be affected.

    750.   Defendant is without sufficient knowledge to admit or deny paragraph 750 and would

           demand strict proof if his rights are to be affected.

    751.   Defendant is without sufficient knowledge to admit or deny paragraph 751 and would

           demand strict proof if his rights are to be affected.

    752.   Defendant is without sufficient knowledge to admit or deny paragraph 752 and would

           demand strict proof if his rights are to be affected.

    753.   Defendant is without sufficient knowledge to admit or deny paragraph 753 and would

           demand strict proof if his rights are to be affected.

    754.   Defendant is without sufficient knowledge to admit or deny paragraph 754 and would

           demand strict proof if his rights are to be affected.

    755.   Defendant is without sufficient knowledge to admit or deny paragraph 755 and would

           demand strict proof if his rights are to be affected.

    756.   Defendant is without sufficient knowledge to admit or deny paragraph 756 and would

           demand strict proof if his rights are to be affected.

    757.   Defendant is without sufficient knowledge to admit or deny paragraph 757 and would

           demand strict proof if his rights are to be affected.

    758.   Defendant is without sufficient knowledge to admit or deny paragraph 758 and would

           demand strict proof if his rights are to be affected.




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    759.   Defendant is without sufficient knowledge to admit or deny paragraph 759 and would

           demand strict proof if his rights are to be affected.

    760.   Defendant is without sufficient knowledge to admit or deny paragraph 760 and would

           demand strict proof if his rights are to be affected.

    761.   Defendant is without sufficient knowledge to admit or deny paragraph 761 and would

           demand strict proof if his rights are to be affected.

    762.   Defendant is without sufficient knowledge to admit or deny paragraph 762 and would

           demand strict proof if his rights are to be affected.

    763.   Defendant is without sufficient knowledge to admit or deny paragraph 763 and would

           demand strict proof if his rights are to be affected.

    764.   Defendant is without sufficient knowledge to admit or deny paragraph 764 and would

           demand strict proof if his rights are to be affected.

    765.   Defendant is without sufficient knowledge to admit or deny paragraph 765 and would

           demand strict proof if his rights are to be affected.

     COUNT XX – 42 U.S.C. §1983 – Fourteenth Amendment Violation of Deliberate
                      Indifference to Serious Medical Needs
                  Plaintiff v. Robert Long in his individual capacity

    766.   Paragraph 766 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    767.   Defendant admits that Robert Long was an EMT, but denies the remaining allegations

           in paragraph 767.

    768.   Defendant denies paragraph 768.

    769.   Defendant admits that Defendant Robert Long was employed by the City of Memphis

           but denies the remaining allegations in paragraph 769.



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    770.   Defendant is without sufficient knowledge to admit or deny paragraph 770 and would

           demand strict proof if his rights are to be affected.

    771.   Defendant denies paragraph 771.

    772.   Defendant denies paragraph 772.

    773.   Defendant denies paragraph 773.

    774.   Defendant denies paragraph 774.

    775.   Defendant denies paragraph 775.

    776.   Defendant denies paragraph 776.

    777.   Defendant denies paragraph 777 as stated.

    778.   Defendant admits that Defendant Long assisted in placing Mr. Nichols on a stretcher

           and denies the remaining allegations in paragraph 778.

    779.   Defendant denies paragraph 779.

    780.   Defendant denies paragraph 780.

    781.   Defendant denies paragraph 781.

    782.   Defendant denies paragraph 782.

    783.   Defendant denies paragraph 783.

    784.   Defendant denies paragraph 784.

    785.   Defendant is without sufficient knowledge to admit or deny paragraph 785 and would

           demand strict proof if his rights are to be affected.

    786.   Defendant is without sufficient knowledge to admit or deny paragraph 786 and would

           demand strict proof if his rights are to be affected.

    787.   Defendant denies paragraph 787.

                 COUNT XXI – 42 U.S.C. § 1983- Fourteenth Amendment Violation of
                        Deliberate Indifference to Serious Medical Needs

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                        Plaintiff v JaMichael Sandridge, in his individual capacity


    788.   Paragraph 788 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    789.   Defendant denies paragraph 789.

    790.   Defendant denies paragraph 790.

    791.   Defendant admits paragraph 791.

    792.   Defendant admits the allegations in paragraph 792.

    793.   Defendant denies paragraph 793.

    794.   Defendant denies paragraph 794.

    795.   Defendant denies paragraph 795.

    796.   Defendant denies paragraph 796 as stated.

    797.   Defendant denies paragraph 797.

    798.   Defendant denies paragraph 798.

    799.   Defendant denies paragraph 799 as stated.

    800.   Defendant admits to assisting Mr. Nichols being placed on a stretcher, but denies the

           remaining allegations in paragraph 800.

    801.   Defendant denies paragraph 801.

    802.   Defendant denies paragraph 802.

    803.   Defendant denies paragraph 803.

    804.   Defendant denies paragraph 804.

    805.   Defendant denies paragraph 805.

    806.   Defendant denies paragraph 806.

    807.   Defendant denies paragraph 807.

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    808.   Defendant denies paragraph 808.

    809.   Defendant is without sufficient knowledge to admit or deny paragraph 809 and would

           demand strict proof if his rights are to be affected.

               COUNT XXII – 42 U.S.C.S § 1983- Fourtheenth Amendment Violation of
                        Deliberate Indifference to Serious Medical Needs
                      Plaintiff v. Michelle Whitaker, in her individual capacity

    810.   Paragraph 810 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    811.   Defendant denies paragraph 811.

    812.   Defendant denies paragraph 812.

    813.   Defendant denies paragraph 813.

    814.   Defendant denies paragraph 814.

    815.   Defendant denies paragraph 815.

    816.   Defendant denies paragraph 816.

    817.   Defendant denies paragraph 817.

    818.   Defendant is without sufficient knowledge to admit or deny paragraph 818 and would

           demand strict proof if his rights are to be affected.

    819.   Defendant denies paragraph 819 as stated.

    820.   Defendant is without sufficient knowledge to admit or deny paragraph 820 and would

           demand strict proof if his rights are to be affected.

    821.   Defendant denies paragraph 821.

    822.   Defendant denies paragraph 822.

    823.   Defendant denies paragraph 823.

    824.   Defendant denies paragraph 824.



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    825.   Defendant denies paragraph 825.

    826.   Defendant denies paragraph 826.

    827.   Defendant denies paragraph 827.

    828.   Defendant denies paragraph 828.

    829.   Defendant denies paragraph 829.

    830.   Defendant is without sufficient knowledge to admit or deny paragraph 830 and would

           demand strict proof if his rights are to be affected.

    831.   Defendant is without sufficient knowledge to admit or deny paragraph 831 and would

           demand strict proof if his rights are to be affected.

    832.   Defendant is without sufficient knowledge to admit or deny paragraph 834 and would

           demand strict proof if his rights are to be affected.

    833.   Defendant denies paragraph 833.

                        COUNT XXIII- Intentional Infliction of Emotion Distress
               Plaintiff v. DeWayne Smith, Individually and as Agent of the City of Memphis

    834.   Paragraph 834 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    835.   Defendant is without sufficient knowledge to admit or deny paragraph 835 and would

           demand strict proof if his rights are to be affected.

    836.   Defendant is without sufficient knowledge to admit or deny paragraph 836 and would

           demand strict proof if his rights are to be affected.

    837.   Defendant is without sufficient knowledge to admit or deny paragraph 837 and would

           demand strict proof if his rights are to be affected.

    838.   Defendant is without sufficient knowledge to admit or deny paragraph 838 and would

           demand strict proof if his rights are to be affected.

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    839.   Defendant is without sufficient knowledge to admit or deny paragraph 839 and would

           demand strict proof if his rights are to be affected.

    840.   Defendant is without sufficient knowledge to admit or deny paragraph 840 and would

           demand strict proof if his rights are to be affected.

    841.   Defendant is without sufficient knowledge to admit or deny paragraph 841 and would

           demand strict proof if his rights are to be affected.

    842.   Defendant is without sufficient knowledge to admit or deny paragraph 842 and would

           demand strict proof if his rights are to be affected.

    843.   Defendant is without sufficient knowledge to admit or deny paragraph 843 and would

           demand strict proof if his rights are to be affected.

    844.   Defendant is without sufficient knowledge to admit or deny paragraph 844 and would

           demand strict proof if his rights are to be affected.

                       COUNT XXIV – Negligent Infliction of Emotional Distress
               Plaintiff v. DeWayne Smith, Individually and as Agent of the City of Memphis

    845.   Paragraph 845 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    846.   Defendant is without sufficient knowledge to admit or deny paragraph 846 and would

           demand strict proof if his rights are to be affected.

    847.   Defendant is without sufficient knowledge to admit or deny paragraph 847 and would

           demand strict proof if his rights are to be affected.

    848.   Defendant is without sufficient knowledge to admit or deny paragraph 848 and would

           demand strict proof if his rights are to be affected.

    849.   Defendant is without sufficient knowledge to admit or deny paragraph 849 and would

           demand strict proof if his rights are to be affected.

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    850.   Defendant is without sufficient knowledge to admit or deny paragraph 850 and would

           demand strict proof if his rights are to be affected.

    851.   Defendant is without sufficient knowledge to admit or deny paragraph 851 and would

           demand strict proof if his rights are to be affected.

    852.   Defendant is without sufficient knowledge to admit or deny paragraph 852 and would

           demand strict proof if his rights are to be affected.

    853.   Defendant is without sufficient knowledge to admit or deny paragraph 853 and would

           demand strict proof if his rights are to be affected.

    854.   Defendant is without sufficient knowledge to admit or deny paragraph 854 and would

           demand strict proof if his rights are to be affected.

    855.   Defendant is without sufficient knowledge to admit or deny paragraph 855 and would

           demand strict proof if his rights are to be affected.

    856.   Defendant is without sufficient knowledge to admit or deny paragraph 856 and would

           demand strict proof if his rights are to be affected.

    857.   Defendant is without sufficient knowledge to admit or deny paragraph 857 and would

           demand strict proof if his rights are to be affected.

                                COUNT XXV – Fraudulent Misrepresentation
                 Plaintiff v. DeWayne Smith, Individually and as Agent of the City of Memphis

    858.   Paragraph 858 does not require a response. To the extent a response is required,

           Defendant incorporates his response to paragraphs 1-293.

    859.   Defendant is without sufficient knowledge to admit or deny paragraph 859 and would

           demand strict proof if his rights are to be affected.

    860.   Defendant is without sufficient knowledge to admit or deny paragraph 860 and would

           demand strict proof if his rights are to be affected.

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    861.   Defendant is without sufficient knowledge to admit or deny paragraph 861 and would

           demand strict proof if his rights are to be affected.

    862.   Defendant is without sufficient knowledge to admit or deny paragraph 862 and would

           demand strict proof if his rights are to be affected.

    863.   Defendant is without sufficient knowledge to admit or deny paragraph 863 and would

           demand strict proof if his rights are to be affected.

    864.   Defendant is without sufficient knowledge to admit or deny paragraph 864 and would

           demand strict proof if his rights are to be affected.

    865.   Defendant is without sufficient knowledge to admit or deny paragraph 865 and would

           demand strict proof if his rights are to be affected.

    866.   Defendant is without sufficient knowledge to admit or deny paragraph 866 and would

           demand strict proof if his rights are to be affected.

    867.   Defendant is without sufficient knowledge to admit or deny paragraph 867 and would

           demand strict proof if his rights are to be affected.

    868.   Defendant is without sufficient knowledge to admit or deny paragraph 868 and would

           demand strict proof if his rights are to be affected.

    869.   Defendant is without sufficient knowledge to admit or deny paragraph 869 and would

           demand strict proof if his rights are to be affected.

    870.   Defendant is without sufficient knowledge to admit or deny paragraph 870 and would

           demand strict proof if his rights are to be affected.



                                          PRAYERS FOR RELIEF

    871.   Defendant denies paragraph 871.



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    872.   Defendant denies paragraph 872.

    873.   Defendant denies paragraph 873.

    874.   Defendant denies paragraph 874.

    875.   Defendant denies paragraph 875.

    876.   Defendant denies paragraph 876.

    877.   Defendant denies paragraph 877.

    878.   Defendant denies paragraph 878.

    879.   Defendant denies paragraph 879.

    880.   Defendant denies paragraph 880.

    881.   Defendant denies paragraph 881.

    882.   Defendant denies paragraph 882.

    883.   Defendant denies paragraph 883.

    884.   Defendant denies paragraph 884.

    885.   Defendant denies paragraph 885.

    886.   Defendant denies paragraph 886.

    887.   Defendant denies paragraph 887.

    888.   Defendant denies paragraph 888.

    889.   Defendant denies paragraph 889.

    890.   Defendant denies paragraph 890.

    891.   Defendant denies paragraph 891.

    892.   Defendant denies paragraph 892.

    893.   Defendant denies paragraph 893.

    894.   Defendant denies paragraph 894.



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    895.   Defendant denies paragraph 895.

    896.   Defendant denies paragraph 896.

                                           JURY DEMAND

    897.   Paragraph 897 is an assertion that does not require a response.

                               AFFIRMATIVE DEFENSES

    1. Defendant Sandridge asserts that as to the allegations against him, Plaintiff fails to state a

       claim upon which relief can be granted.

    2. Defendant Sandridge submits that pursuant to 42 U.S.C. § 1988, as well as the 2016

       amendment of the Tennessee Governmental Torts Liability Act as set forth in Tenn. Code

       Ann. § 29-20-113, should he prevail in this action brought against him in his individual

       capacity, he is entitled to recover reasonable attorneys’ fees and costs incurred in

       defending this claim.

    3. Defendant Sandridge asserts that claims of negligence under state law that he is immune

       from liability for any negligence under the Tennessee Governmental Tort Liability Act.

    4. Defendant Sandridge is entitled to qualified immunity to Plaintiff’s claims.

    5. Defendant Sandridge exercised a degree of care, skill and diligence ordinarily possessed

       and exercised by similar E.M.T.’s under the same or similar circumstances that were not

       found to have committed any negligence or breach of duty.

    6. Defendant Sandridge asserts that Plaintiff’s claim for punitive damages violates

       applicable law and Plaintiff is not entitled to any such damages.

    7. Defendant Sandridge specifically reserves the right to raise and claim other and further

       defenses as may be necessary in the defense of this cause as discovery and investigation




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       of this matter continues, as well as any defenses raised by any hereinafter named co-

       defendants.

    8. Defendant Sandridge asserts that 42 U.S.C. § 1983 does not apply to pre-trial medical

       care.

                                            Respectfully Submitted,

                                            /s/Laura E. Smittick #32374
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                                            F: (888) 338-1208
                                            support@smitticklaw.com




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                                  CERTIFICATE OF SERVICE
         I, Laura E. Smittick, do hereby certify that a copy of the foregoing document has been
 filed via the Court’s ECF/ECM system on the 17th day of May 2023 and as a result a copy has
 been sent to the following through the Court’s ECF/ECM system.

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                                              /s/Laura E. Smittick
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